
BARFIELD, Judge.
William Van Poyck appeals an order of the Director of the Division of Administrative Hearings dismissing, under section 120.56(2), Florida Statutes (1989), his petition challenging Department of Corrections rules relating to inmate confinement. A nearly identical order was reversed and remanded in Bass v. Florida Department of Corrections, 575 So.2d 810 (Fla. 1st DCA 1991), involving challenges to the same rules, because appellate review was precluded by the fact that the order was unclear as to the grounds for the dismissal.
In Bass, we relied upon Ramadanovic v. State, 575 So.2d 1333 (Fla. 1st DCA 1991), involving challenges to rules relating to inmate access to legal materials, in which we reversed a similar' order and remanded for entry of an order stating with specificity grounds warranting dismissal of the petition, or for further proceedings on the petition pursuant to 120.56(2).
Finding this order similarly deficient, we REVERSE and REMAND with the same instructions as in Bass and Ramadanovic.
NIMMONS and MINER, JJ., concur.
